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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



    SOLAMERE CAPITAL,
              Plaintiff,

               v.                        No. 22-mc-91197-ADB

    MICHAEL A. DiMANNO and
    ACCUIRE, LLC,
               Defendants.



         MEMORANDUM AND ORDER ON PLAINITFF’S MOTION TO QUASH THIRD-
                            PARTY SUBPOENA


CABELL, U.S.M.J.

        Plaintiff    Solamere      Capital   (“Solamere”),   a   Massachusetts

limited liability company and “hedge fund operating out of New

York” (D. 100, p. 13, ¶ 24, CA), 1 filed this action seeking to

quash a Fed. R. Civ. P. 30(b)(6) third-party subpoena issued by

defendants     Michael        A.   DiManno   (“DiManno”)   and   Accuire,   LLC

(“Accuire”).        (D. 1).    The subpoena seeks testimony and documents

from Solamere in connection with a civil lawsuit brought by Amazing

Insurance, Inc. (“Amazing”) against DiManno and Accuire (“D and

A”) in the United States District Court in the Eastern District of

California, Amazing Ins., Inc. v. DiManno and Accuire, LLC, 19-




1   “CA” refers to docket entries in a related California action
described in the next sentence.
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cv-01349-TLN-CKD (E.D. Cal. 2019) (“California Action”).                            (D. 1-

6).

      D    and    A,    defendants       and       third-party       plaintiffs   in    the

California Action, submit the information “is directly relevant”

to support their third-party claims for civil conspiracy and fraud

against third-party defendant Alex Campos (“Campos”).                        (D. 15, p.

5).       The    requested       discovery     revolves     around      Solamere’s      due

diligence review and acquisition of an interest in nonparty Vensure

Employer Services, Inc. (“Vensure”).                   (D. 1-6).

      Contrary         to   D    and   A’s   arguments,        the    discovery   is    not

“directly relevant” to the third-party claims in the California

Action.     (D. 15, p. 5).             At best, two of the three categories of

the claimed relevant matters D and A identify are tangentially

relevant to the third-party claims.                   The discovery is also outside

the scope of Fed. R. Civ. P. 26(b)(1) (“Rule 26(b)(1)”); and D and

A had ample opportunity to obtain the discovery from other sources,

namely, Campos and Vensure.               See Fed. R. Civ. P. 26(b)(2)(C)(ii).

Moreover, even limiting the discovery to a due diligence file or

database and a report by David Glenn (“Glenn”) to Solamere (D.

25), the burden on Solamere as a nonparty to produce this more

limited     discovery           outweighs    any      likely     benefit    under      Rule

26(b)(1).       As a result, and after conducting a hearing, the motion

to quash (D. 1) is allowed.



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I.   BACKGROUND

     By way of background, Accuire, a Florida limited liability

company with a principal place of business in Folsom, California,

provides staffing services and administers workers’ compensation

coverage for corporate clients.              (D. 6, ¶ 7, CA) (D. 100, p. 2, ¶

7, CA).      DiManno is a part owner of Accuire and the company’s CEO.

(D. 6, ¶¶ 9-10, CA) (D. 100, pp. 8-10, ¶¶ 2, 13, CA).                 Vensure,

which Campos partially owns after the Solamere acquisition, is a

professional employer organization (“PEO”) and an insurance broker

for Chubb Insurance (“Chubb”), according to the second amended

third-party      complaint    in   the   California     Action   (“third-party

complaint”).         (D. 100, pp. 13, 17, ¶¶ 24, 43, CA).        At or around

the time of Amazing’s acquisition of an ownership interest in

Accuire      (“the    Amazing/Accuire    transaction”),     Campos   allegedly

promised to provide advantageous workers’ compensation insurance

rates to Accuire through Vensure. 2              (D. 100, p. 17, ¶ 43, CA).

Campos owns Amazing and serves as its chief executive officer

(“CEO”). 3     (D. 6, ¶ 12, CA) (D. 6-5, p. 3, ¶ 1.4, CA).




2   At the time of the Amazing/Accuire transaction, Campos owned
100% of Vensure as “a matter of public record.” (D. 22, p. 18).
The Amazing/Accuire transaction took place before Solamere
acquired an interest in Vensure. (D. 15, p. 3) (D. 16-10, p. 3,
§ 8.6(a), CA).
3   The third-party complaint describes Amazing as “Campos’s
shell company.” (D. 100, ¶ 18, CA).
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     A.     The Subpoena

     The subpoena seeks a broad swath of documents from Solamere.

These include documents: (1) “pertaining to disclosures made by

Vensure and/or [Campos] to Solamere as part of Solamere’s due

diligence before investing in Vensure”; (2) describing “Solamere’s

internal policies or procedures for conducting due diligence”; (3)

“pertaining to business proposals . . . provided to Solamere”

during “negotiations leading to Solamere’s investment in Vensure”;

(4) “containing terms of the agreement for Solamere’s investment

in Vensure”; and (5) pertaining to Solamere’s due diligence into

[Campos] or Vensure.”       (D. 1-6, p. 10).    The subpoena additionally

requests documents that Glenn provided “to Solamere in regard to

Solamere’s     investment    in   Vensure,    including   any   information

regarding [Campos].”       (D. 1-6, p. 10).

     Topics listed for the Rule 30(b)(6) deposition are equally

broad.    They encompass: (1) “Solamere’s purchase of an interest in

Vensure”; (2) the “nature of the relationship between Solamere and

Vensure”; (3) “Glenn’s role in Solamere’s investment in Vensure”;

(4) “Solamere’s due diligence review of Vensure and” Campos; (5)

Solamere’s “internal policies or procedures” for conducting due

diligence “of a potential deal”; and (6) “Solamere’s knowledge of

a relationship between Vensure,” Campos, and Amazing, “and the

claim of [Amazing] that it owns a 75% ownership interest in

Accuire.”    (D. 1-6, pp. 9-10).

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       Excluding any final report by Glenn, most of the documents

originate from Vensure, as convincingly explained by Solamere’s

counsel.    (D. 22, pp. 8, 44).    As such, they are likely obtainable

from Vensure or Campos, who owns 49% of Vensure after Solamere’s

acquisition of 51% of the company. 4      (D. 100, p. 13, ¶ 24, CA).

       Relative to Glenn, Solamere describes him as an independent

or fundless sponsor who “occasionally recommends or introduces a

company to Solamere as a potential investment opportunity.”             (D.

24).    In contrast, D and A depict him as “a compensated agent who

conducted due diligence of Vensure” and Campos for Solamere. 5          (D.

25).

       B.   The California Action and Relevancy of the Discovery

       Understanding   the   relevancy    of   the   requested   discovery

necessarily entails an understanding of the allegations in the

first amended complaint (“FAC”) and the third-party complaint.




4   See also n.2 supra.

5   Ultimately, the discrepancy in Glenn’s role is immaterial. As
discussed below, the burden imposed on Solamere to review and
produce documents, including Glenn’s report if one exists, from a
database containing information regarding Solamere’s investment in
Vensure outweighs any likely benefit of the report in the
California Action. See Fed. R. Civ. P. 26(b)(1). The importance
of information in the report is minimal. As such, the discovery
is not proportional under Rule 26(b)(1).     See Fed. R. Civ. P.
26(b)(1); Fed. R. Civ. P. 26(b)(2)(C)(iii).
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Accordingly, with a focus on Vensure’s role, this court turns

initially to the FAC and thereafter the third-party complaint. 6

             1.    The FAC

     As alleged in the FAC, in November 2016 Amazing entered into

a Binding Letter of Understanding (“LOU”) to purchase the ownership

interest in Accuire with DiManno; Gardner Investment Holdings, LLC

(“Gardner”);       CAPM   Holdings,     LLC    (“CAPM”);   and    KaiserKane

Consulting, LLC (“KaiserKane”).             (D. 6, ¶ 8, CA) (D. 6-1, CA).

After execution of the LOU and accompanying ancillary documents,

Amazing owned a 75% interest in Accuire, and D and A owned the

remaining 25% interest. 7      (D. 6, ¶ 9, CA).        Thereafter, DiManno

misappropriated       funds   from     Accuire   and   incurred    “needless

expenses.”        (D. 6, ¶ 15, CA).     Accuire, in turn, failed to pay

more than $700,000 owed to Vensure for PEO services.             (D. 6, ¶ 16,

CA) (D. 6-6, ¶ 6, CA).

     In March 2019, Amazing, Accuire, DiManno, and United Brokers

Insurance Agency, Inc. executed a term sheet, which contemplated

Accuire buying back Amazing’s 75% interest in the company.               (D.

96, p. 3, CA) (D. 6-5, CA).          Under the transaction, Accuire would


6   The third-party complaint mentions Solamere exactly once and
only with respect to Campos’s January 2018 plan to sell his
interest in Accuire. (D. 100, p. 22, ¶ 69, CA).

7 Amazing’s ownership interest in Accuire is disputed. As alleged
in the third-party complaint, at all relevant times, DiManno owned
49% of Accuire and Gardner, CAPM, and KaiserKane each owned 17% of
Accuire. (D. 100, p. 9, ¶ 13, CA).
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make a $350,000 down payment at closing, and Campos would “cause

Vensure to provide” a $350,000 line of credit.                       (D. 6-5, CA).

“Vensure’s         workers’   compensation”         for    Accuire   would   “remain

unchanged.”         (D. 6-5, CA).   After the closing, DiManno would own

100% of Accuire.        (D. 6-5, CA).         DiManno, however, never paid the

$350,000, and the closing did not take place.                  (D. 6, ¶ 14, CA).

     As Accuire became more heavily indebted and DiManno continued

to mismanage the company, Amazing noticed a July 15, 2019 special

meeting in accordance with Accuire’s amended operating agreement.

(D. 6, ¶ 18, CA).             Due to disruptions, Amazing adjourned the

meeting.       (D. 6, ¶¶ 25-26, CA).                Shortly thereafter, Amazing

installed a new board of directors consisting of Campos, Vikash

Jain (“Jain”), and DiManno.             (D. 6, ¶ 27, CA) (D. 6-11, CA).

Amazing also authorized Jain to work with a consultant to reduce

Accuire’s expenses, obtain control of Accuire’s email system, and

notify Accuire’s vendors and other entities of the change in

management.        (D. 6-11, CA) (D. 6, ¶ 27, CA).

              2.    The Third-Party Complaint

     In contrast to the FAC, the third-party complaint alleges

that Campos, Jain, Gerald Douglas Anderton (“Anderton”), and Kara

Childress (“Childress”) mismanaged Accuire.                    It also outlines a

series   of    proposals      preceding       the   LOU.      Specifically,    these

proposals by Campos, Jain, and Anderton changed “the original deal”

between Amazing and Accuire to an “entirely different” deal.                    (D.

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100, pp. 10-13, ¶¶ 16-23, CA).               The LOU sets out this entirely

different deal.     (D. 16-9, CA) (D. 100, p. 12, ¶ 22, CA).                  The

underlying impetus for the deal was Accuire’s need to obtain a

workers’ compensation policy with a large deductible by securing

the necessary capital through selling Gardner’s, KaiserKane’s, and

CAPM’s interest in Accuire and, as the deal changed, DiManno’s

interest in Accuire as well.           (D. 100, p. 10, ¶¶ 13, 15, CA).

     The third-party complaint depicts Vensure’s involvement as

twofold.     First, to “lure Accuire and DiManno into executing a

sale of” Accuire to Amazing, Campos orally promised DiManno in

November 2016 that he (Campos) would lower Vensure’s workers’

compensation insurance rates in exchange for Accuire “remain[ing]

a Vensure customer for another year.”               (D. 100, pp. 13, 17, ¶¶ II,

43, CA).     “DiManno confirmed” the promise in the LOU, which sets

out the parties’ agreement “that Amazing will cause Vensure to

reduce [Accuire’s] workers compensation” fees and rates.                (D. 100,

p. 17, ¶ 43, CA) (D. 16-9, § 7, CA).                Thereafter, Campos falsely

characterized the reduced rate as part of Amazing’s payment to

Accuire.    (D. 100, p. 17, ¶ 43, CA).

     Second,    Vensure     made   a   loan    to    Accuire   after   the   LOU’s

execution.     Specifically, in late 2016 or early 2017, Campos

installed    his   “close    associates,”       i.e.,    Jain,    Anderton,   and

Childress, in positions of authority at Accuire.                 (D. 100, p. 20,

¶ 58, CA) (D. 16-12, 16-14, 16-15, CA).                    Childress, who was

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Vensure’s chief operating officer, and Jain had access to Accuire’s

bank accounts and proceeded to siphon money from Accuire to Campos,

Amazing, “and Campos-owned entities.”                (D. 100, pp. 13, 19-20, ¶¶

24, 53, 58, CA).         The siphoning of funds and the underfunding of

Accuire led to a chronic lack of liquidity and eventually forced

Accuire to take out loans.           (D. 100, pp. 20-22, ¶¶ 58-66, CA).

Vensure made at least one of these loans.               (D. 100, pp. 20, 22, ¶¶

59, 66, CA).          Relatedly, Childress “negotiated agreements on

Campos’s and Vensure’s behalf so that Vensure would loan Accuire

money.”      (D. 100, p. 20, ¶ 59, CA).

       In short, Vensure’s involvement in the events underlying the

California Action arises from Campos’s promise that Vensure would

reduce       Accuire’s   workers’    compensation        insurance     rates   and

Vensure’s loan to Accuire.          In opposing the motion to quash, D and

A identify the following as relevant to the third-party claims:

(1)    the      misrepresentation        of    the      advantageous     workers’

compensation rates; (2) the Vensure loan to Accuire; and (3) the

disclosure to Solamere, if any, of Vensure’s involvement in the

Amazing/Accuire transaction and Vensure’s characterization of that

involvement.       (D. 15, pp. 4-5) (D. 22, pp. 20-22, 31-32).

              3.   Discovery in the California Action

       In February 2020, DiManno and Accuire served a third-party

subpoena on Vensure requesting production of documents.                   (D. 55-

1,    CA).      The   fourth   request       asked    Vensure   for   information

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“regarding any loans” Vensure made to Accuire.           Request number

seven asked for information “reflecting any money transferred”

from Vensure to Accuire.      (D. 55-3, pp. 3, 8, CA).    Request number

nine asked Vensure for information regarding Amazing’s purchase of

Accuire.     (D. 55-3, p. 9, CA).    Notwithstanding the opportunity,

the requests did not seek documents specific to Solamere.         (D. 55-

3, CA).    Vensure responded to the requests in May 2020 and did not

produce responsive documents.       (D. 55, p. 2).    In August 2020, D

and A moved to compel Vensure to comply with the subpoena.             (D.

55, CA).     In September 2020, the court in California allowed the

motion to compel and ordered Vensure to produce the requested

documents “no later than 9/25/2020,” except with respect to request

number 13.    (D. 1-3, CA).    D and A received approximately 168,000

pages of documents from Vensure, but nevertheless submit they did

not receive anything about the Amazing/Accuire transaction or

Vensure’s loan to Accuire.      (D. 22, p. 56).

     Neither DiManno nor Accuire filed a motion seeking Vensure’s

compliance with the September 2020 Order or a further motion to

compel production to obtain the information they presently submit

is missing.    Thus, for almost two years, D and A did not ask the

California court for a more fulsome production from Vensure with

the missing information.      Instead, they now seek to subpoena the

documents from Solamere.      Discovery is set to close on August 13,

2022, in the California Action.          A limited time period therefore

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remains for D and A to ask the California court for a more fulsome

production of documents.

       In February 2020, D and A served requests for production on

Campos.      (D. 44-3, CA).          The requests did not seek documents

specific to Vensure or Solamere.             At best, one of the requests

asked Campos for information related to Campos’s communications

with lenders for any loans made to Accuire.              (D. 44-3, p. 7, CA).

In May 2020, D and A filed a motion to compel Campos to comply

with the requests and produce the requested documents.                  (D. 44,

CA).     In September 2020, the California court deemed objections

waived and ordered Campos to begin producing responses to the

document requests within two days.            (D. 1-3).      Here again, for

almost two years, D and A did not ask the court to enforce the

Order by way of contempt or monetary sanctions.                  Likewise, they

did not file a further motion to compel production.                (D. 1-3).

       D and A also deposed Campos “multiple times, including as a

30(b)(6)      designee    of   non-party      Vensure,     and    he   provided

information      regarding     his     dealings   with    Solamere     and   its

investment in Vensure,” according to Solamere.             (D. 1, p. 10).      At

the July 2022 hearing, Solamere’s counsel likewise represented

“there were questions asked about Solamere and . . . the diligence

process” during Campos’s Rule “30(b)(6) deposition.”                (D. 22, pp.

8-9).    During the hearing, D and A’s counsel stated he asked Campos



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if Solamere knew about his past. 8                     (D. 22, p. 30).            Campos

purportedly responded that he did not know.                     (D. 22, p. 30).         D

and   A’s     counsel        also    allegedly       asked    Campos     whether      the

Amazing/Accuire       was     disclosed      to     Solamere.    (D.     22,   p.    31).

Overall, Campos was “not forthcoming,” according to D and A’s

counsel.      (D. 22, p. 33).

II.   DISCUSSION

      In    seeking     to    quash    the        subpoena,   Solamere    argues      the

requested information is not relevant, more easily obtainable from

other sources, and issued for an improper purpose.                       Within these

overarching arguments, Solamere additionally asserts the discovery

is    duplicative        under         Rule        26(b)(2)(C)(i),        fails       the

proportionality analysis under Rule 26(b)(1), and places an undue

burden or expense on Solamere as a nonparty in the California

Action under Fed. R. Civ. P. 45(d)(3)(A) (“Rule 45(d)”) and Rule

26(b).      (D. 1).     D and A also had ample opportunity to seek the

discovery from Campos and Vensure, but they failed to ask for it,

according to Solamere.              (D. 1, p. 10) (D. 22, pp. 8-11).                D and

A’s arguments are summarized and addressed below in the context of

analyzing Solamere’s arguments.




8  D and A’s counsel does not identify whether the inquiry occurred
during Campos’s individual deposition or at one of the Rule
30(b)(6) depositions.
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     The law is straightforward. A third-party subpoena is subject

to   the    relevance   and     proportionality    requirements   of    Rule

26(b)(1).    See Holloman v. Clarke, 320 F.R.D. 102, 103 (D. Mass.

2017) (third-party subpoena issued “pursuant to Fed. R. Civ. P.

45, is subject to the ‘relevance’ requirement of Fed. R. Civ. P.

26(b)(1)”); Enargy Power (Shenzhen) Co. Ltd. v. Xiaolong Wang, No.

13-11348-DJC, 2014 WL 4687784, at *2 (D. Mass. Sept. 17, 2014)

(“Rule 45 subpoena must fall within the scope of proper discovery

under Fed. R. Civ. P. 26(b)(1)”) (citation omitted); E.E.O.C. v.

Texas Roadhouse, Inc., 303 F.R.D. 1, 2 (D. Mass. 2014) (“subpoena

issued to a non-party pursuant to Rule 45 is subject to Rule

26(b)(1)’s    overriding      relevance    requirement”).   A   Rule    45(d)

subpoena is also subject to the constraints of Rule 26(b)(2).            See

Cates v. Zeltiq Asethetics, Inc., Civil Action No. 20-mc-91234-

NMG, 2020 WL 5517457, at *2 (D. Mass. Sept. 14, 2020) (setting out

Rule 26(b)(2)(C)’s requirements in context of Rule 45 subpoena).

Rule 26(b)(1) instructs that:

     Parties may obtain discovery regarding any nonprivileged
     matter that is relevant to any party’s claim or defense and
     proportional to the needs of the case, considering the
     importance of the issues at stake in the action, the amount
     in controversy, the parties’ relative access to relevant
     information, the parties’ resources, the importance of the
     discovery in resolving the issues, and whether the burden or
     expense of the proposed discovery outweighs its likely
     benefit.

Fed. R. Civ. P. 26(b)(1) (emphasis added).          Rule 26(b)(2) requires

this court to limit discovery when it “can be obtained from some

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other source that is more convenient, less burdensome, or less

expensive.”    Fed. R. Civ. P. 26(b)(2).          Green v. Cosby, 152 F.

Supp. 3d 31, 34 (D. Mass. 2015) (addressing Rule 45 subpoena)

(citation omitted), modified on reconsideration, 160 F. Supp. 3d

431 (D. Mass. 2016).

      Rule 45(d), in turn, requires this court to “quash or modify

a subpoena” that “subjects a person to undue burden.”                 Fed. R.

Civ. P. 45(d); Green, 152 F. Supp. 3d at 34.                  Furthermore,

“[c]oncern for the unwanted burden thrust upon non-parties is a

factor entitled to special weight in evaluating the balance of

competing needs.”       Cascade Yarns, Inc. v. Knitting Fever, Inc.,

755   F.3d   55,   59   (1st   Cir.   2014)   (citation   omitted).      When

determining whether a Rule 45(d) subpoena duces tecum results in

an undue burden, factors to consider include “‘the relevance of

the documents sought, the necessity of the documents sought, the

breadth of the request,’” and the “‘expense and inconvenience.’”

Behrend v. Comcast Corp., 248 F.R.D. 84, 86 (D. Mass. 2008)

(examining Rule 45(c), the prior iteration of Rule 45(d)) (quoting

Demers v. LaMontagne, Civ. A. No. 98–10762–REK, 1999 WL 1627978,

at *2 (D. Mass. May 5, 1999)); see also Green, 152 F. Supp. 3d at

36 (considering relevance, requesting party’s need for discovery,

breadth of request, and burden when analyzing nonparty subpoena).

As the party resisting discovery, Solamere “bears the burden of



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showing the subpoena imposes an undue burden.” 9          Green, 152 F.

Supp. 3d at 35 (citations omitted).

     Turning   to   the   relevance      and   proportionality    of   the

information, D and A proffer three categories of relevant matters,

as previously noted.      First, they identify the “[a]dvantageous

premium rates for Vensure,” which Campos promised to DeManno to

induce Accuire to enter the transaction with Amazing.         (D. 15, p.

5) (D. 22, pp. 20-21).    Second, D and A postulate that the nature

of Amazing’s purchase of Accuire described, if at all, by Vensure

during Solamere’s due diligence is relevant.         (D. 15, p. 5) (D.

22, pp. 27-28).     Third, they maintain that, after Campos, Jain,

Childress, and Anderton stripped Accuire of funds, Vensure made a

loan to Accuire.     (D. 22, p. 21).       “Those funds would then be

funneled to Campos, while leaving Accuire on the hook to repay

them to Vensure.”   (D. 100, p. 20, ¶ 59, CA).      With respect to all

three categories, D and A rely on the third-party claims for civil

conspiracy and fraud claims as the basis for discovery.          According

to D and A, Glenn is the “most knowledgeable” individual “about

the information provided to Solamere in its due diligence review

of Vensure” but is evading service.       (D. 15, p. 5) (D. 22, p. 26).

     Relevance is broadly construed at the discovery stage.            See

Green, 152 F. Supp. 3d at 34-35.        Rule 26(b)(1) further restricts


9    During the hearing, Solamere offered to provide a
declaration. (D. 22, pp. 14-15).
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relevance to matters “relevant to [a] party’s claim.”              Fed. R.

Civ. P. 26(b)(1); see Fed. R. Civ. P. 26(b)(2)(C)(iii) (allowing

court to foreclose discovery if “outside the scope permitted by

Rule 26(b)(1)).

     The court first examines the three categories of relevant

matters seriatim before proceeding to the subpoena’s requested

discovery.     With respect to Vensure’s premium rates, Campos’s

promise   to   DiManno    to    provide   more     advantageous    workers’

compensation    rates    from   Vensure   to     lure   Accuire   into   the

Amazing/Accuire transaction is one of several representations the

third-party complaint identifies as false or fraudulent.           (D. 100,

pp. 13, 17, 27, ¶¶ II, 41-43, 93-94, CA).         As such, the promise to

provide advantageous workers’ compensation rates is relevant to

the fraud claims and, by extension, the conspiracy claim, which

alleges the conspirators “planned to defraud” and “financially

drain Accuire.”     (D. 100, p. 30, ¶ 115, CA).            The subpoena’s

deposition topics and requests to produce are relevant to the

conspiracy and fraud claims to the extent the workers’ compensation

rates fall within such topics and requests.             By way of example,

requests one and six potentially capture this information.

     In contrast, the manner in which Vensure characterized its

involvement in the Amazing/Accuire transaction to Solamere and/or

whether it disclosed that involvement to Solamere is not relevant

to the conspiracy and fraud claims or otherwise relevant in a

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broader sense.       To be sure, the Amazing/Accuire transaction plays

a central role in the fraud and conspiracy claims. 10                 Vensure’s

disclosure of its involvement, if any, and the characterization of

its involvement in the transaction to Solamere, however, is not

probative of the primary allegations regarding the Amazing/Accuire

transaction in the third-party complaint.                 These involve other

individuals (Campos, Jain, and Anderton) and Amazing luring D and

A    into    executing   the     transaction    without    any    intention     to

consummate the deal (D. 100, pp. 13-17, ¶ II, 25-43, CA) and then

siphoning funds from Accuire and forcing the company to take out

loans, including the Vensure loan.

       With respect to Vensure’s loan to Accuire, Campos purportedly

instructed Vensure to make the loan in July 2019.                (D. 15, p. 2).

The third-party complaint notes that, by siphoning funds from

Accuire,     the    individual    third-party    defendants      (Campos,    Jain,

Anderton, and Childress) forced Accuire to obtain loans “from at

least two Campos-owned entities,” one of which was Vensure.                   (D.

100, p. 22, ¶ 66, CA).            Childress negotiated the loan, and the

loaned money was thereafter funneled to Campos.               (D. 100, pp. 20-

21, ¶¶ 59, 61, CA).        Accordingly, the Vensure “loan” constitutes

part    of    the    planned     conspiracy    “to   defraud,     mislead,    and




10 In assessing relevance, this court recognizes and has considered
Campos’s cross-ownership interests in Amazing and Vensure as well
as any conflict of interest posed by such ownership.
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financially drain Accuire” and is therefore relevant to the fraud

and conspiracy claims.      (D. 100, p. 30, ¶ 115, CA).

     Having set the stage, the court turns to the core dispute:

whether the requested discovery set out in the subpoena is subject

to production.      First and foremost, the subpoena’s deposition

topics are unreasonably cumulative of what D and A already obtained

during one or more depositions of Campos; and, to the extent not

cumulative, D and A had ample opportunity to obtain the information

during   such   depositions,   including     during   the    Rule   30(b)(6)

deposition of Vensure.      See Fed. R. Civ. P. 26(b)(2)(C).         In this

respect, and based on the representation of Solamere’s counsel, D

and A’s counsel asked Campos about Solamere and the due diligence

process during a Rule 30(b)(6) deposition. 11         (D. 22, pp. 8-9).

She also states, and this court finds, that Campos “provided

information     regarding   his   dealings     with   Solamere      and   its

investment in Vensure.”      (D. 15, p. 10).

     Relatedly, D and A’s counsel represents he asked Campos the

following: “Did Solamere know about your past?”; “Does Solamere

know about the fact you were barred from the insurance industry in

Florida?”; and “Did Solamere know that you were barred from the

mortgage industry in Georgia?”      (D. 22, p. 30).         Although Campos

responded that he did not know, Solamere’s knowledge about Campos’s


11  Counsel did not specify the entity Campos represented as the
Rule 30(b)(6) designee.
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past is not relevant to the civil conspiracy or fraud claims.                    D

and A’s counsel also represented that he asked Campos whether the

Amazing/Accuire transaction was disclosed to Solamere, and Campos

was “not forthcoming.”        (D. 22, pp. 31, 33).         In any event, even

assuming the relevance of these inquiries, the burden imposed on

Solamere   as   a   nonparty   outweighs     the   likely    benefit       of   the

information under Rule 26(b)(1).          Similar to the deposition topics

in the Solamere subpoena, D and A’s counsel could have asked Campos

questions during the Vensure Rule 30(b)(6) deposition (D. 22, p.

25) about Solamere’s due diligence review and investigation of

Vensure and Campos.      D and A’s contention that Campos was unable

to provide helpful information at his depositions because this is

“a fraud case” involving concealment (D. 22, pp. 25-26) does not

override   this     court’s   determination    that    D   and   A   had    ample

opportunity to seek this information within the meaning of Rule

26(b)(2)(C)(ii).

     Similar reasoning forecloses production of the subpoena’s

requested documents.      D and A requested documents from Vensure in

the California Action; moved to compel production, which the court

allowed (except for request number 13); and Vensure produced

approximately 168,000 pages of documents.             Although the document

requests in the Solamere subpoena do not identically mirror the

requests to Vensure in the California Action (loans to Accuire and

information regarding Amazing’s purchase of Accuire), they do

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partially overlap.              (D. 55-3, CA) (D. 1-6, p. 10).       The discovery

presently sought is therefore, in part, unreasonably cumulative or

duplicative under Rule 26(b)(2)(C)(i).

      It   is    also       a    fishing     expedition,   as   is   the   requested

deposition discovery.                 By way of explanation, D and A’s counsel

maintains the 168,000 pages of documents did not include “anything

about the [Vensure] loan” or “really anything about the Amazing-

Accuire deal.”         (D. 22, p. 56).         The requests, however, asked for

loan and information regarding the Amazing/Accuire transaction.

(D. 55-3, CA).          Having received the estimated 168,000 pages of

documents from Vensure in response to document requests asking for

loans and information regarding the Amazing/Accuire transaction

(D.   55-3,     CA),    D       and   A’s   insistence   that   Solamere   has   such

documents is based on hope and speculation.                     See Ameristar Jet

Charter, Inc. v. Signal Composites, Inc., 244 F.3d 189, 193 (1st

Cir. 2001) (affirming motion to quash deposition subpoenas of

nonparty corporate employees based on mere “‘hope’ that” testimony

“will contradict” prior deposition of nonparty corporate employer;

and characterizing such “‘cumulative or duplicative’” discovery as

“fishing expedition”) (citing Rule 26(b)(2)(i) and (ii)).

      Moreover, the proposed requests to Solamere are broader than

the requests in the Vensure subpoena in the California Action.

They also differ from the Vensure requests because they target

Solamere’s investment in Vensure.                  D and A had ample opportunity

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to ask Vensure for all documents provided by Glenn in connection

with the Solamere investment in Vensure.            Specifically, they could

have included such a request in the Vensure subpoena in the

California Action.       Likewise, they had ample opportunity to seek

other related documents regarding the Solamere investment directly

from Vensure in the Vensure subpoena.         (D. 55-3, CA).        Here again,

their failure does not warrant giving them a second opportunity.

Exercising     this     court’s     discretion,          Rule   26(b)(2)(C)(ii)

forecloses that opportunity.          See Heidelberg Americas, Inc. v.

Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir. 2003)

(affirming    district    court    quashing   third-party       subpoena   duces

tecum and noting “[d]istrict courts exercise broad discretion to

manage discovery matters”).

      Similarly, the document requests to Vensure (D. 55-3, CA) did

not ask for information regarding Vensure’s workers’ compensation

rates offered to Accuire. 12        To the extent the document requests

in the Solamere subpoena encompass such information, D and A “had

ample opportunity to obtain the information” in the California

Action through discovery under Rule 26(b)(2)(C)(ii).

      In   sum,   the    proposed    discovery      is    either   unreasonably

cumulative or duplicative under Rule 26(b)(2)(C)(i), or D and A

had   ample   opportunity     to    obtain    the    discovery     under   Rule


12   D and A’s counsel represented at the hearing that Accuire
“never got” the promised rates. (D. 22, p. 21).
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26(b)(2)(C)(ii).        In the alternative, the proposed discovery is

outside the scope of Rule 26(b)(1) and therefore barred under Rule

26(b)(2)(C)(iii).         As discussed, and again in the alternative,

Vensure’s       characterization      of     its     involvement         in     the

Amazing/Accuire      transaction     and    its    disclosure,     if    any,   to

Solamere is not relevant.        Moreover, with discovery still open in

the California Action, D and A retain the ability to ask the

California      court    for   the   discovery      sought      from    Solamere.

Accordingly, to this limited extent, the discovery “can be obtained

from” other sources within the meaning of Rule 26(b)(2)(C)(i).

       Overall, the requested discovery is not highly or obviously

relevant to the civil conspiracy and fraud claims. See Heidelberg,

333 F.3d at 41.      In contrast, the burden to Solamere outweighs any

such relevance.         See id. (stating subpoenaed “documents are not

obviously, and perhaps not even reasonably calculated to lead to

other     discoverable     materials,”     and    burden   to    nonparty,      “by

contrast, appears to be significant”).

       Indeed, Heidelberg involves circumstances similar to the case

at bar and is therefore instructive.             Like D and A, the defendant

in the underlying litigation in Heidelberg sought from a nonparty

“all    documents received,     reviewed     or    generated     by     Heidelberg

relating to the possible acquisition of (a) an ownership interest

in [the plaintiff in the underlying litigation], or (b) any other

type of business affiliation with [the plaintiff].”                    Id. at 40.

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The First Circuit emphasized the undue burden to the nonparty

stemming from the breadth of the subpoena, including the all-

encompassing nature of the request.        Id.

       As a final matter, D and A state “they would be satisfied”

with “production of Glenn’s due diligence file and [the] report”

he provided to Solamere.        (D. 25).     The burden on Solamere, a

nonparty, to produce this more limited discovery nevertheless

outweighs its likely benefit under Rule 26(b)(1).              Thus, even

limiting the extent of discovery in this manner, the discovery is

not subject to production.       See Fed. R. Civ. P. 26(b)(2)(C)(iii).

III.   CONCLUSION

       In accordance with the foregoing discussion, the motion to

quash (D. 1) is ALLOWED.



                                          /s/ Donald L. Cabell
                                          DONALD L. CABELL, U.S.M.J.

DATED:    August 8, 2022




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